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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 08-MD-01916-Marra

   IN RE: CHIQUITA BRANDS INTERNATIONAL, INC.,
   ALIEN TORT STATUTE AND
   SHAREHOLDER DERIVATIVE LITIGATION
   ________________________________________________/

   This Document Relates To:
   ATS ACTION

   07-60821-CIV-MARRA (Carrizosa)
   08-80421-CIV-MARRA (N. J. Action) (Does 1-11)
   08-80465-CIV-MARRA (D.C. Action) (Does 1-144)
   08-80508-CIV-MARRA (Valencia)
   08-80480-CIV-MARRA (Manjarres)
   10-60573-CIV-MARRA (Montes)
   17-81285-CIV-MARRA (D.C. Action) (Does v Hills)
   18-80248-CIV-MARRA (John Doe 1)
   ________________________________________________/

              THE MAJORITY (NON-WOLF) PLAINTIFFS’ OPPOSITION TO
                 MOTION TO ISSUE A SHOW CAUSE ORDER (DE 3834)

        The Majority (all non-Wolf) Plaintiffs (hereinafter “Majority Plaintiffs”) oppose the Joint

   Motion of Wolf Plaintiffs and Defendant Chiquita for the Court to Issue a Show Cause Order

   (DE 3834) in its currently proposed form. As reflected in the “Settlement Agreement” between

   Paul Wolf and Chiquita, Mr. Wolf is expecting to receive over $2 million within days of the

   issuance of a Show Cause Order. (DE 3833-1 ¶ 3). It would be improper to make any

   disbursement of funds to Mr. Wolf prior to the resolution of Conrad & Scherer’s charging

   lien and a determination of the common benefit fees and costs owed by Mr. Wolf because the

   disbursement could impair Conrad & Scherer’s lien interest and the ability to collect common

   benefit fees and costs. Thus, if the Court were inclined to issue a Show Cause Order, Conrad &

   Scherer’s charging lien and common benefit obligations should be resolved first.
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         As background, on April 28, 2020, the Court entered an Order Granting Attorney Paul

   Wolf’s Cross-Motion and Renewed Motion to Disqualify Attorney Terrence Collingsworth and

   Conrad & Scherer, LLP from Further Representation of Does 1-144. (DE 2658). In doing so, the

   Court recognized that Conrad & Scherer might file a charging lien. (DE 2658, ¶ 4). Conrad &

   Scherer proceeded to file a charging lien for fees and costs in relation to its representation of

   Does 1-144 in the amount of $245,772.78. (DE 2687).

         To date, it has been premature for Conrad & Scherer to seek a ruling on its charging lien

   because the Court expressly “reserve[d] ruling on any charging liens filed in the case until the

   conclusion of the litigation.” (DE 2658 ¶ 4). Now that Mr. Wolf has entered into a “Settlement

   Agreement” with Chiquita, Conrad & Scherer’s charging lien is ripe. Accordingly, Conrad &

   Scherer will promptly file a motion to enforce its charging lien. In addition, The Majority

   Plaintiffs’ Counsel are entitled to be compensated out of any proceeds derived by Mr. Wolf from

   the “settlement” for services rendered by them which benefitted Mr. Wolf and his clients. 1 In the

   interim, both Mr. Wolf and Chiquita have a duty to protect the stated lien interests. See Hall,

   Lamb & Hall, P.A. v. Sherlon Invs. Corp., 7 So. 3d 639, 641-42 (Fla. 3d DCA 2009). If they do

   anything to impair the stated lien interests, Conrad & Scherer and the Majority Plaintiffs reserve

   the right to hold Chiquita, the Individual Defendants, and Mr. Wolf jointly and severally liable

   for the full amount of the lien. Id. at 642.

         Should the Court determine that it is appropriate to issue a Show Cause Order, the issuance

   of such an Order should be conditioned upon a restriction on the distribution of any “settlement”

   proceeds to Mr. Wolf pending resolution referenced liens. The Majority Plaintiffs further request



   1
    Mr. Wolf addressed Conrad & Scherer’s charging lien in his Friday filing, indicating that he
   opposes the lien. (DE 3835 at 3-6). Conrad & Scherer reserves its substantive argument on the
   issues raised by Mr. Wolf for its forthcoming motion to enforce its charging lien.
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   that the proposed Order be modified to include the following provisions in order to avoid

   confusion among thousands of Colombian claimants and to guard against interference in the

   relationships between the Majority Plaintiffs’ Counsel and their clients:

          1) Any person contacting Paul Wolf directly or indirectly concerning matters relating to

              this Order who Mr. Wolf knows or has reason to believe is represented by non-Wolf

              Plaintiffs’ Council shall immediately be referred to plaintiffs’ liaison Council for

              purposes of responding to any inquiry such a person may have;

          2) All notices, announcements, and other communications with or directed to Wolf

              plaintiffs shall make clear that:

                  a. Chiquita has made an offer to settle that relates only to persons represented by

                  Attorney Paul Wolf;

                  b. No settlement agreement has been reached with Chiquita that is binding on any

                  claimant or impacts in any way on the validity of the verdicts recently rendered

                  against Chiquita in United States Federal Court proceedings;

                  c. Persons represented by Attorney Paul Wolf have a choice as to whether to

                  accept Chiquita’s settlement offer or to reject the offer and continue the

                  prosecution of their claims in an effort to obtain better settlement terms or to

                  proceed to trial;

                  d. Mr. Wolf shall continue to be responsible for the prosecution of all claims on

                  behalf of each person who chooses not to accept Chiquita’s current settlement

                  offer unless and until Mr. Wolf is relieved of that responsibility by subsequent

                  order of the Court; and
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                  e. Persons not represented by Attorney Paul Wolf who have claims pending

                  against Chiquita should contact their own attorneys with any questions they may

                  have about the status of their claims.

   WHEREFORE, Conrad & Scherer and the other Majority Plaintiffs request that the Court:

          1.       deny the Motion to Issue a Show Cause Order; or

          2.      if an order is issued, modify it as requested to avoid confusion on the part of non-

   Wolf Claimants; and

        3.        hold any distribution of “settlement” proceeds to Mr. Wolf in abeyance until after

   charging lien issues are resolved.

   Dated: June 24, 2024                                    Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk of

   the Court using CM/ECF on June 23, 2024, which will automatically generate and serve Notices

   of Electronic Filing on all counsel of record.

                                                           /s/Victoria Mesa-Estrada
